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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                    :
Laura Spinola,                                      :
                                                    : Civil Action No.: 1:13-cv-13278
                        Plaintiff,                  :
        v.                                          :
                                                    :
Credit One Financial d/b/a Credit One Bank,         : COMPLAINT
                                                    : JURY TRIAL DEMANDED
                        Defendant.                  :
                                                    :
                                                    :

                 For this Complaint, the Plaintiff, Laura Spinola, by undersigned counsel, states as

follows:

                                          JURISDICTION

        1.       This action arises out of Defendant’s repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et. seq. (the “TCPA”).

        2.       Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business here, Plaintiff resides in this judicial district, and a substantial portion of the

acts giving rise to this action occurred here.

                                              PARTIES

        4.       The Plaintiff, Laura Spinola (“Plaintiff”), is an adult individual residing in

Brockton, Massachusetts, and is a “person” as defined by 47 U.S.C. § 153(10).

        5.       Defendant Credit One Financial d/b/a Credit One Bank (“Credit”), is a Nevada

business entity with an address of 585 Pilot Road, Las Vegas, Nevada 89119, and is a “person”

as defined by 47 U.S.C. § 153(10).
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                                                 FACTS

       6.         Within the last four years, Credit contacted the Plaintiff in an attempt to collect a

debt allegedly owed by Plaintiff.

       7.         Beginning in October 2013, Credit began contacting Plaintiff by placing calls to

Plaintiff’s cellular telephone, number 781-xxx-6736, using an automated telephone dialer system

(“ATDS”) and/or an artificial or prerecorded voice.

       8.         When Plaintiff answered ATDS calls from Credit, she would hear a prerecorded

message instructing Plaintiff to press “1” if she was Laura Spinola, and to press “2” if not. After

pressing “1” to indicate that she was Laura Spinola, Plaintiff would be connected to a live

representative.

       9.         During a conversation that took place in mid-October 2013, Plaintiff stated that

she could not pay the debt, and requested that the ATDS calls to her cellular phone cease.

       10.        Despite Plaintiff’s request, Credit continued to harass Plaintiff with ATDS calls to

her cellular telephone, without her consent, at a rate of four to five calls per day.

       11.        Furthermore, during a subsequent conversation, Plaintiff asked Credit why they

were calling her cellular phone after she had requested they stop. In response, Credit

acknowledged Plaintiff’s request, but stated that her number could not be removed from their

automated system.


                                 COUNT I
       VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                           47 U.S.C. § 227, et seq.

       12.        The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.




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         13.      At all times mentioned herein and within the last four years, Defendant contacted

Plaintiff on her cellular telephone using an ATDS and/or by using a prerecorded or artificial

voice.

         14.      Plaintiff revoked her consent to be contacted by Defendant on her cellular

telephone by her demand to cease calling her cellular telephone.

         15.      Regardless, Defendant continued to place ATDS calls to Plaintiff’s cellular

telephone knowing there was no consent to continue the calls. As such, each call placed to

Plaintiff was made in knowing and/or willful violation of the TCPA, and subject to treble

damages pursuant to 47 U.S.C. § 227(b)(3)(C).

         16.      The telephone number called by Defendant was assigned to a cellular telephone

service for which Plaintiff incurs charges for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

         17.      The calls from Defendant to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).

         18.      Each of the aforementioned calls made by Defendant constitutes a negligent or

intentional violation of the TCPA, including each of the aforementioned provisions of 47 U.S.C.

§ 227, et. seq.

         19.      As a result of each of Defendant’s negligent violations of the TCPA, Plaintiff is

entitled to an award of $500.00 in statutory damages for each call in violation of the TCPA

pursuant to 47 U.S.C. § 227(b)(3)(B).

         20.      As a result of each of Defendant’s knowing and/or willful violations of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 for each and

every violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).




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                                  COUNT II
              INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

       21.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       22.     The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

       23.     Massachusetts further recognizes the Plaintiff’s right to be free from invasions of

privacy, thus Defendant violated Massachusetts state law.

       24.     The Defendant intentionally intruded upon Plaintiff’s right to privacy by

continually harassing the Plaintiff with Robocalls to her cellular telephone.

       25.     The telephone calls made by Defendant to the Plaintiff were so persistent and

repeated with such frequency as to be considered, “hounding the plaintiff,” and, “a substantial

burden to her existence,” thus satisfying the Restatement of Torts, Second, § 652(b) requirement

for an invasion of privacy.

       26.     The conduct of the Defendant in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

       27.     As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from Defendant.

       28.     All acts of Defendant and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, Defendant is subject to punitive damages.




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                                  PRAYER FOR RELIEF

             WHEREFORE, the Plaintiff prays that judgment be entered against Defendant:

                1. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

                2. Actual damages from Defendants for the all damages including emotional

                    distress suffered as a result of the intentional, reckless, and/or negligent

                    invasions of privacy in an amount to be determined at trial for the Plaintiff;

                3. Punitive damages; and

                4. Such other and further relief as may be just and proper.


                      TRIAL BY JURY DEMANDED ON ALL COUNTS



Dated: December 27, 2013

                                            Respectfully submitted,

                                            By       /s/ Sergei Lemberg

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